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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 1:21-cr-00127-ABJ
       v.                                     :
                                              :
JOSHUA MATTHEW BLACK,                         :
                                              :
               Defendant.                     :

                  UNOPPOSED GOVERNMENT’S MOTION TO STRIKE
                        PORTIONS OF THE INDICTMENT

       The United States of America respectfully moves to strike portions of the indictment in

this case. For the reasons set forth below, the Court should strike language referring to the “Vice

President-elect” in Counts Two, Three, and Four, charging the defendant, Joshua Black, with

violations of 18 U.S.C. § 1752.

       I.      Background

       In 18 U.S.C. § 1752, Congress prohibited certain types of conduct in any “restricted

building or grounds.” As relevant here, Section 1752 defines a “restricted building and grounds”

as “any posted, cordoned off, or otherwise restricted area . . . of a building or grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting.” 18

U.S.C. § 1752(c)(1)(B). An individual violates Section 1752 by, among other things, “knowingly

entering without lawful authority to do so in any posted, cordoned off, or otherwise restricted area

of a building or grounds where a person protected by the Secret Service is or will be temporarily

visiting,” or if that individual “intends to and does impede government business through disorderly

or disruptive conduct while in the restricted area.” United States v. Griffin, 549 F.Supp.3d 49, 54

(D.D.C. 2021) (cleaned up). The list of individuals whom the United States Secret Service is
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authorized to protect includes the Vice President and the Vice President-elect. 18 U.S.C.

§ 3056(a)(1).

          The indictment in this case alleges that Black violated Section 1752 on January 6, 2021.

Specifically, Count Two alleges that Black violated Section 1752(a)(1) and (b)(1)(A) when he

“unlawfully and knowingly entered and remained in a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, without

lawful authority to do so, and, during and in relation to the offense, did use and carry a deadly and

dangerous weapon, that is, a knife.” ECF No. 9, at 2 (emphasis added).

          Similarly, Count Three alleges that Black violated Section 1752(a)(2) and (b)(1)(A) when

he “knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engaged in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.” ECF No. 9, at 2-3 (emphasis

added).

          Further, Count Four alleges that Black violated Section 1752(a)(3) and (b)(1)(A) when he

“knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, obstructed and impeded ingress and egress to and from a restricted building

and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United

States Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting.” ECF No. 9, at 3 (emphasis added).



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       Since the Grand Jury returned the Indictment on February 17, 2021, further investigation

has shed light on the whereabouts of the Vice President and Vice President-elect during January

6, 2021. See Exhibit A, Declaration of Sergeant Stephen T. James (“James Declaration”); Exhibit

B, Declaration of Jason Jolly, Staff Assistant, United States Secret Service (“Jolly Declaration”).

The Vice President left the Senate Chamber and entered a “secure location within the Capitol

Complex.” James Declaration, ¶ 4. The Vice President remained at that secure location until he

returned to the Senate Chamber later in the day. Id. at ¶ 4-5. The Capitol Complex refers to “the

Capitol Building and Capitol Visitor Center,” id. at ¶ 3, and was “entirely within the restricted

perimeter” established around the Capitol building and Grounds on January 6, 2021. Id. at ¶ 7.

By contrast, the Vice President-elect, although present at the Capitol on the morning of January 6,

had left and was planning to return to the Capitol until her travel there “was delayed when the Joint

Session was interrupted by the riot.” Jolly Declaration, ¶ 3. The Vice President-elect thus did not

return to the Capitol until approximately 7 pm to participate in the Certification of the Electoral

College vote. Id. at ¶ 4.

       Based on these factual developments, the government moves the Court to amend the

charging language in all counts charging a violation of Section 1752. Specifically, the government

requests that the Court amend the reference to “where the Vice President and Vice President-elect

were temporarily visiting” to “where the Vice President was temporarily visiting” in Counts Two,

Three, and Four.1




1
  As noted above, Section 1752 defines a “restricted building and grounds” to include a building
or grounds where a protected person “is or will be temporarily visiting.” 18 U.S.C. § 1752(c)(1)(B)
(emphasis added). The government does not request the Court to amend the indictment to include
the future tense—“would be”—verb.

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       II.      Argument

       The Fifth Amendment of the Constitution requires that the prosecution of a criminal

defendant facing a felony charge “be begun by indictment.” Stirone v. United States, 361 U.S.

212, 215 (1960). Once an indictment has issued, that charge “may not be broadened through

amendment except by the grand jury itself.” Id. at 216. By contrast, where the indictment “fully

and clearly” charges an offense’s elements, no constitutional infirmity arises if that indictment

“alleges more crimes or other means of committing the same crime.” United States v. Miller, 471

U.S. 130, 136 (1985). Thus, language in the indictment that is “unnecessary to and independent

of” the offense’s allegations “may normally be treated as ‘a useless averment’ that ‘may be

ignored.’” Ibid. (quoting Ford v. United States, 273 U.S. 593, 602 (1927)).

       A court therefore has the authority “to drop from an indictment those allegations that are

unnecessary to an offense that is clearly contained within it.” Miller, 471 U.S. at 144; see United

States v. Quinn, 401 F. Supp. 2d 80, 90 (D.D.C. 2005) (granting government motion to strike from

an indictment language that referred not to “essential elements” but instead to “different means by

which the defendants committed an alleged offense (any one which alone could support a

conviction)”); see also United States v. Holland, 117 F.3d 589, 594-95 (D.C. Cir. 1997) (“Paring

down the conspiracy’s time frame added no new charges to the indictment” and thus did not require

re-submission to the grand jury).2 In United States v. Poindexter, 719 F. Supp. 6 (D.D.C. 1989)

(Greene, J.), the government sought to narrow a conspiracy charge by dropping all language

referring to one object of the alleged scheme. Id. at 7. In granting that motion, Judge Greene



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  The Court’s authority under Miller to strike language from an indictment at the government’s
request is distinct from the government’s authority—with leave of the Court—to dismiss all or
part of an indictment, information, or complaint under Rule 48(a) of the Federal Rules of Criminal
Procedure.

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concluded that striking language from an indictment was consistent with the Constitution because

“(1) the indictment as so narrowed constitute[d] a completed criminal offense, and (2) the offense

[wa]s contained in the indictment as originally returned.” Id. at 9.

       Here, after removal of the language that the government seeks to strike, the indictment

continues to state viable offenses that have been in the charging document since the date of its

return by the grand jury. In Counts Two, Three, and Four, the key language on which the Section

1752 charge relies—that a person protected by the Secret Service was temporarily visiting a

posted, cordoned-off, or otherwise restricted area within the Capitol—remains. The indictment

issued by the grand jury identified the same protected person—the Vice President—on which the

amended language relies. Deleting reference to the Vice President-elect “simply ‘narrows’ the

scope of the charges, which ‘adds nothing new to the grand jury’s indictment and constitutes no

impermissible broadening.’” Quinn, 401 F. Supp. 2d at 90 (quoting Holland, 117 F.3d at 595)

(brackets from quotation omitted).3

       III.    Conclusion

       WHEREFORE, the government respectfully requests that its unopposed motion to strike

language referring to the “Vice President-elect” in Counts Two, Three, and Four of the indictment

be GRANTED.

                                                      Respectfully submitted,


                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar Number 481052

3
  Amending the subject-verb agreement—from the “Vice President and Vice President-elect were
temporarily visiting” to the “Vice President was temporarily visiting”—is an “insignificant”
correction that does not require resubmission to the grand jury. See United States v. Bush, 659
F.2d 163, 167 (D.C. Cir. 1981).



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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 18, 2022, I served a copy of this pleading on
defendant’s counsel through ECF.

                                              /s/ Eric W. Boylan
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